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     IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH

                                      CENTRAL DIVISION


UNITED STATES OF AMERICA,

                       Plaintiff,                            MEMORANDUM DECISION
                                                                 AND ORDER
v.
                                                                Case No. 2:05CR625DAK
JUSTIN LEWIS MCCARTY,
                                                                  Judge Dale A. Kimball
                       Defendant.




       Defendant Justin Lewis McCarty has filed a Motion for Early Termination of Supervised

Release [Docket No. 158]. On June 27, 2006, this court sentenced Defendant to 120 months

incarceration with the Bureau of Prisons and 60 months of supervised release. Defendant has

completed half of his term of supervised release.

       Pursuant to 18 U.S.C. § 3583(e)(1), after considering the factors set forth in Section

3553(a)(1), (a)(2)(B), (a)(2)(C), (a)(2)(D), (a)(4), (a)(5), and (a)(6), the court may terminate a

term of supervised release “at any time after the expiration of one year of supervised release . . .

if it is satisfied that such action is warranted by the conduct of the defendant released and the

interest of justice.” The factors to be considered in Section 3553(a) are those factors to be

considered in imposing a sentence, including “the nature and circumstances of the offense and

the history and characteristics of the defendant,” the applicable sentencing guidelines and any

policy statements issued by the Sentencing Commission, and the need for the sentence imposed
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to promote respect for the law, to provide just punishment, to deter other criminal conduct, and to

provide the defendant with needed services. See 18 U.S.C. § 3553(a).

       Defendant’s motion for early termination of supervised release is supported by his

probation officer. Defendant has met all the conditions of her supervised release and been fully

compliant. Defendant has maintained steady employment and submitted a letter of

recommendation from his employer. Defendant has married, purchased a home, and

strengthened his relationships with family members. Defendant has a strong family support

system around him. Defendant has taken several steps to change his past behavior and he has

successfully changed his circumstances. Based on Defendant’s conduct, the court finds that an

early termination of supervised release is warranted.

       Accordingly, the court grants Defendant’s motion for early termination of supervised

release.

       DATED this 13th day of August, 2015.

                                             BY THE COURT:



                                             DALE A. KIMBALL
                                             United States District Judge




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